        Case 4:17-cv-00553 Document 5 Filed on 02/28/17 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 DAVID L. GLASSEL,                                §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §           Civil Action No. 4:17-cv-553
                                                  §
 OCWEN LOAN SERVICING, LLC,                       §
                                                  §
          Defendant.                              §

           DEFENDANT’S FIRST AMENDED CERTIFICATE OF INTERESTED
                PARTIES/CORPORATE DISCLOSURE STATEMENT

         Defendant Ocwen Loan Servicing, LLC hereby files this its First Amended Certificate of

Interested Persons/Corporate Disclosure Statement and states as follows:

                                   I. INTERESTED PARTIES

         The following is a complete list of all persons, associations of persons and entities that

are financially interested in the outcome of the case, to Defendant’s knowledge:

      1. David L. Glassel
         Plaintiff, Pro se
         2119 Old Ox Road
         Spring, Texas 77386
         (832) 533-7767

      2. Ocwen Loan Servicing, LLC
         Defendant
         c/o Mark D. Cronenwett
         Philip Danaher
         Mackie Wolf Zientz & Mann, P. C.
         14160 North Dallas Parkway, Suite 900
         Dallas, TX 75254
         (214) 635-2650




DEFENDANT’S FIRST AMENDED CERTIFICATE OF INTERESTED
PARTIES/CORPORATE DISCLOSURE STATEMENT                                                       Page 1
      Case 4:17-cv-00553 Document 5 Filed on 02/28/17 in TXSD Page 2 of 2




                                                   Respectfully submitted,

                                                By: /s/ Mark D. Cronenwett
                                                    MARK D. CRONENWETT
                                                    Texas Bar No. 00787303
                                                    Southern District Bar No. 21340
                                                    mcronenwett@mwzmlaw.com

                                                MACKIE WOLF ZIENTZ & MANN, P. C.
                                                14160 North Dallas Parkway, Suite 900
                                                Dallas, TX 75254
                                                Telephone: 214-635-2650
                                                Facsimile: 214-635-2686

                                                ATTORNEYS FOR DEFENDANT



                               CERTIFICATE OF SERVICE

      I certify that on the 28th day of February, 2017, a true and correct copy of the foregoing
document was served via certified mail and regular U.S. mail on the pro se party listed below:

       Dave L. Glassel
       2119 Old Ox Road
       Spring, Texas 77386
                                            /s/ Mark D. Cronenwett
                                            MARK D. CRONENWETT




DEFENDANT’S FIRST AMENDED CERTIFICATE OF INTERESTED
PARTIES/CORPORATE DISCLOSURE STATEMENT                                                    Page 2
